   Case 6:21-cr-06097-DGL-MWP            Document 66      Filed 08/29/24    Page 1 of 20




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

              v.                                                        21-CR-6097-DGL

STEPHEN REED PATTISON,

                            Defendant.



               GOVERNMENT'S SUPPLEMENTAL SENTENCING MEMORANDUM

       The United States of America, by and through its attorneys, Trini E. Ross, United

States Attorney for the Western District of New York, and Brett A. Harvey, Assistant United

States Attorney, hereby makes and files its supplemental sentencing memorandum relating to

the resentencing of the defendant, STEPHEN REED PATTISON.


                                   I.     INTRODUCTION

       This case is back before the Court for resentencing. At the original sentencing, the

government asked the Court to sentence the defendant – a convicted violent felon and avowed

white supremacist – to the statutory maximum of 120 months’ imprisonment. This request

was based on, among other things, the defendant’s possession of two firearms and

ammunition; his significant criminal history involving domestic violence and racial animus;

his threats to kill Black people and individuals/groups who were protesting, and in some cases

rioting, over the deaths of George Floyd and Daniel Prude in 2020; and his attempts to

obstruct justice. The Court imposed an upward departure based on the inadequacy of the

defendant’s Criminal History Category (CHC) and sentenced him to 96 months’

imprisonment, more than double the low end of the Guidelines range.
     Case 6:21-cr-06097-DGL-MWP          Document 66      Filed 08/29/24     Page 2 of 20




       While this case was pending appeal, the defendant committed another violent crime,

this time at a high-security prison where he was serving his sentence. As detailed, infra, the

defendant viciously attacked another inmate and slashed him in the face with a makeshift

razor blade weapon because the inmate was selling homemade weapons to another race. The

attack left the inmate with a 10- to 12-centimeter laceration across the right side of his face

and caused significant bleeding. This new racially-tinged crime – taken together with the other

aggravating factors highlighted by the government and the Court at the original sentencing –

warrants the statutory maximum sentence of 120 months’ imprisonment.


                     II.    FACTUAL AND PROCEDURAL BACKGROUND

A.     PROCEDURAL HISTORY

       On November 25, 2020, the defendant was charged in Criminal Complaint No. 20-

MJ-4223 with possession of firearms by a convicted felon, in violation of 18 U.S.C. §

922(g)(1). (Dkt. 1). A federal grand jury returned Indictment No. 21-CR-6097, which charged

the defendant with one count of possession of firearms and ammunition by a convicted felon,

on June 10, 2021. (Dkt. 14).

       On November 8, 2021, the defendant pleaded guilty, pursuant to a written plea

agreement, to the sole count of the Indictment. (Dkt. 24). In the plea agreement, both parties

agreed to the Guidelines calculations and reserved the right to request a non-Guidelines

sentence. (Id. at ¶ 13). In the Second Revised Pre-Sentence Investigation Report (Second

Revised PSR), the Probation Office calculated the same Guidelines calculations as those

contained in the plea agreement and concluded that the defendant’s CHC was IV and total

offense level was 19. (Second Revised PSR at ¶¶ 99-108, 119, 131).

                                                  2
    Case 6:21-cr-06097-DGL-MWP                  Document 66          Filed 08/29/24        Page 3 of 20




        Before sentencing, the government filed a sentencing memorandum requesting the

statutory maximum sentence of 120 months’ imprisonment. (Dkt. 33). 1 In support of its

request, the government relied on the defendant’s significant criminal history (including his

prior criminal convictions and multiple probation/parole violations), the nature and

circumstances of the offense (including, inter alia, the defendant’s possession of firearms and

ammunition, his numerous white supremacist and threatening Facebook posts, and his

threats to kill Black people and protesters), and the defendant’s efforts to obstruct justice by

telling his then-girlfriend to lie to law enforcement authorities and seeking to obtain false

exculpatory affidavits from the two individuals who gave him the firearms. (Id. at 3-11).

        On May 23, 2022, the parties appeared before the Court for sentencing. The Court

found that the defendant’s CHC was inadequate and imposed an upward departure under

U.S.S.G. § 4A1.3(a). (T 36-38). 2 In making this finding, the Court noted, inter alia, that

almost all of the defendant’s prior criminal convictions involved “the use of violence and

many with [a] racial undertone or animus” (Id. at 30); that the defendant engaged in a

“pattern” of criminal conduct showing his lack of respect for the law (Id. at 33-34); that

“violence seems to be [the defendant’s] middle name” (Id. at 35); that the defendant has

“repeatedly shown” who he is and “what [he’s] capable of based on [his] prior record and

[his] numerous statements and rantings on Facebook” (Id.); and the defendant’s “history

includes crimes of violence, menacing, hate speech, race based harassment, trespass, using

racial slurs, threatening to have people killed.” (Id.). The Court ultimately stated:


1 The government incorporates the original sentencing memorandum by reference as if fully set forth herein
and relies on the facts and arguments contained in that memorandum for purposes of resentencing.

2 All references to the sentencing transcript will be denoted by the shorthand reference “T”.
                                                           3
   Case 6:21-cr-06097-DGL-MWP            Document 66      Filed 08/29/24     Page 4 of 20




       It just seems to me, Mr. Pattison, when things don’t go your way especially in
       view of your world view, you react violently. You don’t just disagree with
       people. You call them names. You engage in violence. You get upset at your
       girlfriend, you choke her and threaten to kill her. You get upset when somebody
       asks you to lower music, you destroy his property. You see a Spanish person
       you don’t like in East Rochester, you assault her and call her names. You know,
       I don’t know why the Court and the community has to accept this. You have
       shown who you are. You have been and I think are a danger, sir. You
       repeatedly engaged in behavior frankly of a thug.

(Id. at 37). After increasing the defendant’s CHC to VI and departing upward two levels to

offense level 21, the Court sentenced him to 96 months’ imprisonment. (Id. at 38).

       The defendant subsequently appealed his sentence to the United States Court of

Appeals for the Second Circuit. In January 2024, the Second Circuit vacated the judgment,

concluding that the defendant did not receive sufficient notice that the Court was considering

an upward departure under U.S.S.G. § 4A1.3(a), and remanded the case for resentencing.

United States v. Pattison, 2024 WL 191373 (2d Cir. Jan. 18, 2024).

       On February 22, 2024, the Court issued an order, pursuant to Fed. R. Crim. P. 32(h),

informing the parties that it is “contemplating a departure of the Sentencing Guidelines,

specifically under Guidelines § 4A1.3, that [the defendant’s] criminal history underrepresents

the seriousness of his prior record and especially the likelihood that he will reoffend again.”

(Dkt. 52).

       In a Fifth Revised Pre-Sentence Investigation Report (Fifth Revised PSR), the

Probation Office calculated different Guidelines calculations than those contained in the

original plea agreement. Specifically, the defendant is now a CHC III due to an intervening

amendment to U.S.S.G. § 4A1.1(e). (Fifth Revised PSR at ¶¶ 122-124, 135). The new

Guidelines sentencing range is 37 to 46 months’ imprisonment. (Id. at ¶ 134).


                                                  4
     Case 6:21-cr-06097-DGL-MWP           Document 66       Filed 08/29/24      Page 5 of 20




B.     NEW CRIMINAL CONDUCT

       While serving his sentence in federal prison, the defendant committed a vicious assault

against another inmate because the inmate was selling weapons to the “another race.” In

October 2023, the defendant was serving his sentence at United States Penitentiary McCreary

(USP McCreary), which is a high-security prison in Kentucky. On October 20, 2023, the

defendant, and an inmate with the initials W.S., attacked and assaulted an inmate with the

initials E.S. in their housing unit. (Fifth Revised PSR at ¶ 20). During the attack, the defendant

used a “homemade razorblade” to slash E.S., while W.S. struck E.S. with a sock “filled with

pieces of old locker handles.” The defendant’s weapon consisted of a toothbrush handle with

two razorblades melted into one end. (Id.). A prison employee interceded and ordered the

defendant and W.S. to stop. Both the defendant and W.S. complied. Below are photographs

of the weapons used by the defendant and W.S.




                                                    5
   Case 6:21-cr-06097-DGL-MWP             Document 66       Filed 08/29/24      Page 6 of 20




       As a result of the attack, E.S. sustained a 10- to 12-centimeter laceration along the right

side of his face, stretching from the bottom of his ear to the area near his mouth. (Fifth Revised

PSR at ¶ 20). The laceration was approximately two centimeters wide at its widest point and

had “nicked” a vein under his ear, which caused significant bleeding. (Id.). E.S. was sent to a

local hospital for treatment. Below are photographs of E.S. after the attack.




                                                    6
     Case 6:21-cr-06097-DGL-MWP          Document 66      Filed 08/29/24     Page 7 of 20




       After the attack, a member of the prison staff interviewed the defendant. When asked

what caused the assault, the defendant stated, “That guy [E.S.] was selling homemade

weapons to another race. That doesn’t go over well with the guys in the unit. It was my time

to put in work (assault), so that’s what I did.” (Fifth Revised PSR at ¶ 20). A report from USP

McCreary states that the defendant indicated that his peers view E.S. “as a liability and no

longer welcome[ ] him in general population.” (Id.). W.S. also told prison staff, “We had to

put in work on that dude [E.S.]. He was selling stuff to another race in our unit. If you run

with a group, you cannot sell or hang out with a different group, you know.”


                         III.   STATUTORY SENTENCING FACTORS

A.     APPLICABLE LAW

       For the reasons set forth below, the government respectfully asks this Court to impose

the statutory maximum sentence of 120 months’ imprisonment. Such a sentence is justified
                                                  7
   Case 6:21-cr-06097-DGL-MWP            Document 66        Filed 08/29/24      Page 8 of 20




and appropriate for this defendant – a convicted violent felon and white supremacist who

illegally possessed two firearms and ammunition after stating his intention to shoot and kill

protesters and Black people at a “genocidal rate,” attempted to obstruct this prosecution, and

committed a vicious, armed assault while in federal prison – and would not be Agreater than

necessary@ to comply with the objectives set forth in 18 U.S.C. § 3553(a) (hereinafter, “Section

3553(a)”).

       Section 3553(a) requires that the Court Aimpose a sentence sufficient, but not greater

than necessary, to comply with the purposes set forth in [18 U.S.C. § 3553(a)(2)].@ In

determining the appropriate sentence, the Court must consider the nature and circumstances

of the offense; the history and characteristics of the defendant; the need for the sentence to

reflect the seriousness of the offense, to promote respect for the law, and to provide just

punishment for the offense; the need for the sentence to afford adequate deterrence to criminal

conduct; the need for the sentence to protect the public from further crimes of the defendant;

the need for the sentence to provide the defendant with needed educational or vocational

training, medical care, or other correctional treatment in the most effective manner; the need

to avoid unwarranted sentence disparities among defendants with similar records who have

been found guilty of similar conduct; and the need to provide restitution to any victims of the

offense. 18 U.S.C. § 3553(a).

       In executing these statutory responsibilities, the Court must first correctly calculate the

applicable Guidelines range. Gall v. United States, 552 U.S. 38, 49 (2007). This range is Athe

starting point and the initial benchmark.@ Id. Although this Court must treat the Guidelines

as advisory, United States v. Ratoballi, 452 F.3d 127, 131-32 (2d Cir. 2006), an error in


                                                   8
   Case 6:21-cr-06097-DGL-MWP             Document 66       Filed 08/29/24      Page 9 of 20




determining the applicable Guidelines range or the availability of departure authority

nonetheless would be the type of procedural error that could render a sentence unreasonable

on appellate review. United States v. Selioutsky, 409 F.3d 114, 118 (2d Cir. 2005). Further, while

this Court Adoes not enjoy the benefit of a legal presumption that the Guidelines sentence

should apply,@ Rita v. United States, 551 U.S. 338, 351 (2007), the Second Circuit has observed

that Ain the overwhelming majority of cases, a Guidelines sentence will fall comfortably

within the broad range of sentences that would be [upheld as] reasonable in the particular

circumstances.@ United States v. Fernandez, 443 F.3d 19, 27 (2d Cir. 2006). See also United States

v. Eberhard, 525 F.3d 175, 179 (2d Cir. 2008).

       Next, after giving the parties an opportunity to argue for whatever sentence they deem

appropriate (consistent with any limitations imposed by the plea agreement), this Court must

then Aconsider all the § 3553(a) factors to determine whether they support the sentence

requested by a party.@ Gall, 552 U.S. at 49-50. In determining whether the section 3553(a)

factors support the requested sentence, the Court Amust make an individualized assessment

based on the facts presented.@ Id. at 50. In that regard, A[n]o limitation shall be placed on the

information concerning the background, character and conduct of a person convicted of an

offense which a court . . . may receive and consider for the purpose of imposing an appropriate

sentence.@ 18 U.S.C. § 3661. If a non-Guidelines sentence is warranted, the Court Amust

consider the extent of the deviation and ensure that the justification is sufficiently compelling

to support the degree of the variance.@ Gall, 552 U.S. at 50.

       After settling on the appropriate sentence, the Court Amust adequately explain the

chosen sentence to allow for meaningful appellate review and to promote the perception of


                                                    9
  Case 6:21-cr-06097-DGL-MWP              Document 66       Filed 08/29/24     Page 10 of 20




fair sentencing.@ Id. (citing Rita, 551 U.S. at 351). Although this Court need not engage in

Arobotic incantations@ with respect to its consideration of the section 3553(a) factors,

Fernandez, 443 F.3d at 30, A[t]he sentencing judge should set forth enough to satisfy the

appellate court that he has considered the parties= arguments and has a reasoned basis for

exercising his own legal decisionmaking authority.@ Rita, 551 U.S. at 356.

       In determining an appropriate sentence, a court may vary and/or depart from the

applicable Guidelines range. A “departure refers only to non-Guidelines sentences imposed

on the basis of factors within the framework set out in the Guidelines, whereas a variance is a

modification of the applicable Guidelines sentence that a District Court may find justified

under sentencing factors extrinsic to the Guidelines – namely, those set forth in 18 U.S.C. §

3553(a).” United States v. Sealed Defendant One, 49 F.4th 690, 697 (2d Cir. 2022) (alterations

adopted) (internal quotation marks and citation omitted). See also United States v. Anati, 457

F.3d 233, 236-37 (2d Cir. 2006) (“A departure results from a circumscribed opportunity to

sentence above or below the range based on specific considerations. A non-Guidelines

sentence results from a somewhat broader opportunity to sentence above or below that range

based on a consideration of the factors outlined in section 3553(a).”), abrogated on other grounds

by Irizarry v. United States, 553 U.S. 708, 713 n.1 (2008). “Therefore, even if certain facts are

sufficient to warrant an adjustment or departure under the Guidelines, those same facts, either

in isolation or in combination with other facts, can still be used to support a variance under

the applicable Section 3553(a) factors.” United States v. Jordan, 2024 WL 2764399, at *3 (2d

Cir. May 30, 2024) (citations omitted).




                                                   10
     Case 6:21-cr-06097-DGL-MWP          Document 66       Filed 08/29/24    Page 11 of 20




        In this case, the Court has notified the parties that it is considering an upward

departure under U.S.S.G. § 4A1.3(a)(1). Section 4A1.3(a)(1) provides that “[i]f reliable

information indicates that the defendant’s criminal history category substantially under-

represents the seriousness of the defendant’s criminal history or the likelihood that the

defendant will commit other crimes, an upward departure may be warranted.” In cases where

a court finds an upward departure is appropriate, “the court shall determine the extent of a

departure . . . by using, as a reference, the criminal history category applicable to defendants

whose criminal history or likelihood to recidivate most closely resembles that of the

defendant’s.” U.S.S.G. § 4A1.3(a)(4)(A). Where a court seeks to upwardly depart beyond

CHC VI, the court “should structure the departure by moving incrementally down the

sentencing table to the next higher offense level in Criminal History Category VI until it finds

a guideline range appropriate to the case.” U.S.S.G. § 4A1.3(a)(4)(B).

        “A sentencing court considering an upward departure under [section] 4A1.3 is not

required . . . to pause at each category above the applicable one to consider whether the higher

category adequately reflects the seriousness of the defendant’s record” before determining an

appropriate sentence. United States v. Simmons, 343 F.3d 72, 78 (2d Cir. 2003). “[A]s long as

the reasons for such a departure are fully explained, a mechanistic, step-by-step procedure is

not required.” Id. (internal quotations marks omitted).


B.      LEGAL ARGUMENT

        In this case, the facts and circumstances of the offense and the defendant’s history and

characteristics warrant an upward departure under U.S.S.G. § 4A1.3(a) and the statutory

maximum sentence of 120 months’ imprisonment. Alternatively, the § 3553(a) factors justify

                                                  11
  Case 6:21-cr-06097-DGL-MWP              Document 66       Filed 08/29/24      Page 12 of 20




an upward variance and the statutory maximum sentence of 120 months’ imprisonment.

Because the analyses for the upward departure and upward variance involve the same facts

and circumstances, the government will address them together.

       The offense committed by the defendant – possession of firearms and ammunition by

a convicted felon – is exceptionally serious. The defendant is a convicted violent felon and

avowed white supremacist. In the months preceding his acquisition of the firearms and

ammunition, the defendant, inter alia, expressed his rage about racial minorities and Black

Lives Matter (BLM)/ANTIFA, stated that he was preparing and ready for a Racial Holy War,

and stated his intention to shoot and kill Black people and protesters “at a genocidal rate” in

the event they came to his neighborhood.

       The defendant is a CHC III. (Fifth Revised PSR at ¶¶ 122-124). His criminal history

includes a domestic violence felony and three misdemeanors involving menacing conduct,

threats of violence and/or property destruction. (Id. at ¶¶ 117, 119-121). Notably, two of his

prior convictions were motivated by racial/ethnic animus, (Id. at ¶¶ 117, 119), and one was

precipitated by him getting thrown out of a pub after screaming racial slurs. (Id. at ¶ 121). The

defendant’s domestic violence felony involved the defendant choking his then-girlfriend so

hard that she was unable to breathe and threatening to drown and smother her to death. (Id.

at ¶ 120). At the time of his arrest in that case, the defendant also threatened to have his cousin

shoot the victim in the face. (Id.). The defendant’s criminal history clearly demonstrates his

capacity for violence and willingness to engage in racially motivated criminal conduct. This

criminal history – taken together with the defendant’s racist and threatening Facebook posts

and messages – show that he represents a true threat to the community.


                                                    12
  Case 6:21-cr-06097-DGL-MWP            Document 66       Filed 08/29/24     Page 13 of 20




       Additionally, the defendant violated probation and parole on several occasions over

the last 15 years. In 2009, he violated probation by committing new criminal conduct

(consisting of threatening to murder another individual and assaulting his then-girlfriend,

Rochelle Pfenninger), failing to pay restitution, failing to complete a drug and alcohol

evaluation, moving without permission of the probation office, failing to provide proof of

employment, and failing to complete a mental health evaluation. (Fifth Revised PSR at ¶

117). The defendant also violated his parole in Missouri on multiple occasions between 2018

and 2019. (Id. at ¶ 120). He committed the instant offense while he was wanted on a parole

absconder warrant from Missouri. He also committed the Menacing 2° offense in 2018 while

on parole. (Id. at ¶ 121). The defendant’s abysmal performance while under supervision shows

that he is unwilling and/or unable to follow court orders and live a law-abiding life.

       Perhaps most importantly, the defendant committed yet another race-related crime

while imprisoned at USP McCreary. As detailed above, the defendant and W.S. attacked E.S.

because he was selling weapons to another race. During the attack, the defendant slashed E.S.

with a makeshift weapon, leaving E.S. with a 10- to 12-centimeter laceration across the right

of his face and causing significant bleeding. It is reasonable to infer from the defendant’s

statements to prison staff that the attack stemmed from the defendant’s involvement with a

white prison gang, and that the defendant committed the assault as retribution for E.S.’s

dealing with another race. The defendant’s commission of this vicious racially-tinged assault

confirms the Court’s assessment of the defendant at the original sentencing – that the

defendant is an unrepentant violent criminal, who is motivated by racial animus, has no

respect for the law, and poses a real danger to the community. Moreover, the fact that the


                                                  13
   Case 6:21-cr-06097-DGL-MWP                  Document 66           Filed 08/29/24        Page 14 of 20




defendant committed this crime while in custody at a high-security prison shows that his

contempt for the law knows no bounds and the near certainty that the defendant will commit

more crimes in the future.

        Given these facts and circumstances, the government requests that the Court either:

(1) grant an upward departure under U.S.S.G. § 4A1.3(a) to CHC VI and offense level 24 and

impose a sentence of 120 months’ imprisonment; or (2) vary upward from the Guidelines

sentencing range and impose a sentence of 120 months’ imprisonment. Such a sentence would

adequately account for the nature and circumstances of the offense, the criminal history and

personal characteristics of the defendant, the seriousness of the offense, and the need to

protect the public from further crimes by the defendant. In addition, such a sentence would

promote respect for the law and deter the defendant, and others in this District and elsewhere

in the United States, from illegally possessing firearms and ammunition, threatening racial

violence, and committing violent crimes in federal prison.


                IV.     THE DEFENDANT’S OBJECTIONS TO THE FIFTH REVISED PSR

        The defendant objects to certain portions of ¶¶ 26, 29, 46, 48, 50, 52-55, 58-59, 62-66,

72-79, 82, 84, and 86 of the Fifth Revised PSR, arguing that those portions should not be

considered by the Court because they are not based on reliable sources, are irrelevant to

sentencing, and/or contain conclusions or interpretations that are unnecessary and/or

subjective. (Dkt. 61). 3 In addition, the defendant restates his original objections to the




3 In his most recent sentencing statement, the defendant lodged objections to the Fourth Revised PSR (which
was in effect at the time). Today, the Probation Office issued the Fifth Revised PSR. It is my understanding that
the paragraph numbers in the Fifth Revised PSR are the same as those in the Fourth Revised PSR.

                                                           14
   Case 6:21-cr-06097-DGL-MWP                 Document 66         Filed 08/29/24        Page 15 of 20




inclusion of the Facebook posts and messages in the Second Revised PSR (now the Fifth

Revised PSR), arguing that those posts and messages are “inflammatory” and “irrelevant.”

(Dkt. 30). 4 As detailed below, the disputed portions of the Fifth Revised PSR are reliable,

relevant to sentencing, and comfortably within the broad scope of information the Court can

rely upon in imposing sentence.

        Title 18, United States Code, Section 3661 “codifies the longstanding principle that

sentencing courts have broad discretion to consider various kinds of information” in imposing

sentence. United States v. Watts, 519 U.S. 148, 151 (1997). It provides that “[n]o limitation

shall be placed on the information concerning the background, character, and conduct of a

person convicted of an offense which a court of the United States may receive and consider

for purposes of imposing an appropriate sentence.” 18 U.S.C. § 3661. To effectuate § 3661,

“a judge may appropriately conduct an inquiry broad in scope, largely unlimited either as to

the kind of information he may consider, or the source from which it may come.” Dawson v.

Delaware, 503 U.S. 159, 164 (1992) (internal quotation marks omitted).

        The scope of a district court’s sentencing inquiry must encompass a defendant’s

“history and characteristics,” as required by 18 U.S.C. § 3553(a)(1). And, as the Second

Circuit has explained, it is “self-evident” that “a person’s history and personal characteristics

can often be assessed by a sentencing court only or principally through analysis of what that

person has said – in public, in private, or before the court.” United States v. Stewart, 686 F.3d

156, 166 (2d Cir. 2012).




4 The defendant has incorporated these objections by reference in his most recent sentencing statement. (Dkt.
61).
                                                         15
  Case 6:21-cr-06097-DGL-MWP                 Document 66    Filed 08/29/24      Page 16 of 20




       The First Amendment imposes an outer limit on the broad authority granted to district

courts in § 3661 and the nature of a court’s inquiry under § 3553(a). Stewart, 686 F.3d at 166

(noting an “apparent tension” between § 3553(a)(1) and the First Amendment’s “general[ ]

assur[ance]” that the federal and state government will not encroach upon citizens’ freedom

of speech). As the Second Circuit has explained, “[t]he First Amendment forbids the uncabined

reliance on a defendant’s abstract beliefs at sentencing.” United States v. Fell, 31, F.3d 197, 228

(2d Cir. 2008) (internal quotation marks omitted). But the First Amendment “does not erect

a per se barrier to the admission of evidence concerning one’s beliefs and associations at

sentencing simply because those beliefs and associations are protected by the First

Amendment.” Dawson, 503 U.S. at 165. Rather, “[a] sentencing court may consider such

evidence [of a defendant’s beliefs and associations] so long as it is relevant to the issues

involved in the sentencing proceeding.” United States v. Kane, 452 F.3d 140, 142 (2d Cir. 2006)

(per curiam) (internal quotation marks omitted). “Among other possible uses,” such evidence

“may be relevant to show motive, analyze a statutory aggravating factor, illustrate future

dangerousness or potential recidivism, or rebut mitigating evidence that the defendant

proffers.” Id. at 143 (citations omitted).

       At the original sentencing, the Court denied the defendant’s motion to strike the

Facebook posts and messages from the Second Revised PSR, finding that such information

was “relevant in several respects” to the offense of conviction. (T 10). First, they contain

references to the defendant obtaining firearms to prepare for a “holy war.” (Id. at 11). Second,

in some of the Facebook messages, the defendant acknowledged that he could not legally

possess a firearm. (Id. at 11-12). The Court also ultimately found:


                                                    16
   Case 6:21-cr-06097-DGL-MWP             Document 66       Filed 08/29/24     Page 17 of 20




                So I think these statements in the Facebook pages they refer to many
        things that I think are germane in the Court’s ultimate decision. They refer to
        firearms, assaults or potential assaults on the protestors that were protesting
        during the Summer of 2020. They relate to the use of violence, all of which I
        think may be factors for this Court to determine in terms of the ultimate
        sentence. I mean, the Facebook postings talk about shooting Antifa people . . .
        some reference to Mr. Pattinson [sic] beating up such a person . . . statements
        that we should slaughter anybody bringing communism into the country,
        threats to kill people if they came into his neighborhood presumably in Hilton
        and statements that this just doesn’t mean to fight them but to shoot them,
        pump shells through their head.
                So I deny your request to strike those because for the reason that I stated
        I think they’re relevant and within the broad scope of information the Court
        can determine whether the sentence should be within the guidelines, less than
        the guidelines or more than the guidelines.

(Id. at 12-13).

        The Court’s prior rationale for considering the Facebook evidence still applies. The

defendant’s statements on Facebook are directly relevant to two sentencing issues: first, the

defendant’s motive for the possessing the firearms and ammunition, that is, to potentially kill

Black people and protesters, and prepare for a Racial Holy War; and second, to demonstrate

the defendant’s future dangerousness and potential for recidivism. See United States v. Miner,

2022 WL 7214447, at *2 (2d Cir. Oct. 13, 2022) (holding, in a firearm possession case, that

defendant’s “racist, anti-Semitic, and violent statements online” were relevant to “motive and

potential for violence to the community – two considerations [the Second Circuit] has upheld

as permissible and relevant to sentencing”) (citing Stewart, 686 F.3d at 170, and United States

v. Brown, 479 F.2d 1170, 1174 (2d Cir. 1973)); United States v. Schmidt, 930 F.3d 858, 868 (7th

Cir. 2019) (holding, in a firearm possession case, that a sentencing court could consider

defendant’s white supremacist beliefs as evidence of his future dangerousness and disrespect

for the law) (internal quotation marks omitted). Here, the defendant’s Facebook records –


                                                    17
  Case 6:21-cr-06097-DGL-MWP             Document 66       Filed 08/29/24      Page 18 of 20




which include multiple references to a Racial Holy War, and statements about killing Black

people and protesters – establish that the defendant presents a future threat of danger to the

community, especially given the defendant’s recent commission of another racially-motivated

violent crime while in prison. Moreover, these Facebook records, “combined with [his] record

of repeated violations of law, evince[ ] a willingness to continue on a path of lawlessness in

the absence of significant correction.” Schmidt, 930 F.3d at 868.

       Many of the disputed paragraphs of the Fifth Revised PSR contain informed opinions

by the investigating agents about the meaning of certain Facebook posts and messages,

Discord messages, and jail telephone calls involving the defendant. The underlying content

of the posts, messages, and jail telephone calls are quoted and summarized in the Fifth

Revised PSR. (See, e.g., Fifth Revised PSR at ¶¶ 48, 50, 52-54, 58-59, 62-65, 69, 72, 75-77, 79,

84, 86). It is apparent from the content of the posts, messages, and jail telephone calls that the

agents’ opinions are fair, accurate, and reliable. Nonetheless, the Court is free to review such

content to determine whether the agents’ opinions are accurate and reliable and, if so, whether

those opinions will impact the sentence imposed by the Court.

       In any event, some of the opinions challenged by the defendant do not relate to

contested issues in this case. For example, the defendant challenges a sentence in the Fifth

Revised PSR, which states that use of the symbols “14” and “88” signifies an endorsement of

white supremacist ideology. (Dkt. 61 at 2, 11). The evidence of the defendant’s embrace of

white supremacist ideology is overwhelming: the defendant’s tattoos include a battle shield

with the numbers “1488,” the phrase “Too White For U,” and the term “White Warrior”

(Fifth Revised PSR at p. 3); the search of the defendant’s bedroom at his residence yielded


                                                   18
   Case 6:21-cr-06097-DGL-MWP             Document 66        Filed 08/29/24     Page 19 of 20




white supremacist and Nazi paraphernalia, and depictions of white supremacist and Nazi

imagery (Id. at ¶ 37(h)); the defendant’s Facebook posts and messages are rife with white

supremacist imagery (including, but not limited to, the numbers “14” and “88,” “SS”

lightning bolts, Nazi imagery, and references to the Racial Holy War (RAHOWA)); the

defendant’s cell phone case bore the numbers “14” and “88,” the Nazi “SS” symbol, and a

white power crosshair symbol (Id. at ¶ 39); the defendant’s cell phone contained, inter alia, an

image that read, “White Lives Matter More,” and a photograph of the defendant posing with

a firearm in front of a flag bearing the numbers “14” and “88” (Dkt. 33 at 4-6); in a Facebook

message on July 12, 2020, the defendant stated, “I love it bro that’s y I fight this fight I live by

the 14 words . . . We must secure the existence of our people and the future for white children”

(Id. at 7); and in a Facebook message on October 9, 2020, the defendant stated, “I was ANazi

skinhead and still am at heart . . . weve been talking about RAHOWA for 30 plus years” (Id.

at 8). This is not an exhaustive list. Rather, the government offers these examples to show

only that this particular objection lacks merit.

       Similarly, the defendant challenges the agents’ opinions relating to certain Facebook

messages and jail telephone calls wherein the defendant makes admissions about his

possession of firearms and his prohibited status as a convicted felon. (See, e.g., Fifth Revised

PSR at ¶¶ 69, 79, 84, 86). As this Court is aware, the defendant pleaded guilty to possessing

the 12-gauge shotgun and 30-06 rifle and, in the process, admitted that he knew he was

prohibited from doing so by virtue of his prior felony conviction. (Dkt. 24 at ¶¶ 5(a)-5(e)). As

a result, these objections lack merit as well.




                                                    19
  Case 6:21-cr-06097-DGL-MWP             Document 66     Filed 08/29/24     Page 20 of 20




       The remaining disputed portions of the Fifth Revised PSR relate to information that

provides background and context to the offense of conviction. (See, e.g., Fifth Revised PSR at

¶¶ 26, 46, 54, 55, 66, 73, 77, 78, 82). For example, the defendant’s presence as a counter-

protester at a BLM protest in Rochester in July 2020 and a BLM protest in Caledonia in

September 2020, and the racist statements by various individuals (including Donald Oshier,

who gave the 12-gauge shotgun to the defendant) in online communications with the

defendant, provide context and background for many of the defendant’s Facebook posts and

messages in which he described his anger and rage against Black people and BLM/ANTIFA

protesters, and made statements about killing them.


                                    V.     CONCLUSION

       Based on the foregoing, the government respectfully recommends that the Court

impose a sentence of 120 months’ imprisonment.


       DATED: Rochester, New York, August 29, 2024.

                                                  Respectfully submitted,

                                                  TRINI E. ROSS
                                                  United States Attorney

                                           BY:
                                                  BRETT A. HARVEY
                                                  Assistant United States Attorney
                                                  United States Attorney’s Office
                                                  Western District of New York
                                                  100 State Street, Suite 500
                                                  Rochester, New York 14614
                                                  585/399-3949
                                                  brett.harvey@usdoj.gov



                                                 20
